Case 16-61864-pwb        Doc 19    Filed 07/20/16 Entered 07/20/16 10:57:54            Desc Main
                                   Document     Page 1 of 1




                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

In Re:

ANDREW LAMAR COLLINS                                            Bk. No. 16-61864- PWB

       Debtor.                                                  Chapter 13
________________________________

         NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS
         PLEASE TAKE NOTICE that the undersigned counsel enters its appearance for
CENLAR FSB, a creditor and/or party in interest (“the Creditor”), with regards to its Mortgage on
the real property, located at 6245 SHELBURNE PARK LN, MABLETON, GA 30126, loan
number ending in 9037, in the above captioned bankruptcy matter, and pursuant to Bankruptcy
Rule 2002(g) and 2002(h) and 9007 and §1109(b) of the Bankruptcy Code, demands that all
notices that are required to be given in this case and all papers that are required to be served in
this case, be given to and served upon the undersigned at the office, post office address and
telephone number set forth below.

        PLEASE TAKE FURTHER NOTICE that pursuant to §1109(b) of the Bankruptcy
Code, the foregoing demand includes not only the notices and papers referred to in the Rules
specified above, but also includes, without limitation, orders and notices of any application,
motion, petition, pleading, request, complaint or demand, whether formal or informal, whether
written or oral whether transmitted or conveyed by mail, delivered, telephone, telegraph, telex or
otherwise which affect or seek to affect in anyway any of the Creditor’s rights or interest, with
respect to the Debtor or the property on which Creditor holds a mortgage lien.

Date: July 20, 2016
                                         /s/Ryan Starks
                                         Ryan Starks, Georgia Bar No: 676512
                                         Attorney for CENLAR FSB
                                         Phelan Hallinan Diamond & Jones, PLLC
                                         11675 Great Oaks Way
                                         Suite 375
                                         Alpharetta, GA 30022
                                         Tel: 770-393-4300 Ext. 60024
                                         Fax: 770-393-4310
                                         Email: ryan.starks@phelanhallinan.com
                                         GAND.bankruptcy@phelanhallinan.com
